

Matter of Gardea (2023 NY Slip Op 02925)





Matter of Gardea


2023 NY Slip Op 02925


Decided on June 1, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 1, 2023

PM-109-23
[*1]In the Matter of Juan Pablo Gardea, an Attorney. (Attorney Registration No. 5713003.)

Calendar Date:May 22, 2023

Before:Garry, P.J., Lynch, Pritzker, Fisher and McShan, JJ.

Juan Pablo Gardea, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Juan Pablo Gardea was admitted to practice by this Court in 2019 and lists a business address in Washington, DC with the Office of Court Administration. Gardea now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Gardea's application.
Upon reading Gardea's affidavit sworn to April 19, 2023 and filed April 25, 2023, and upon reading the May 18, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Gardea is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Lynch, Pritzker, Fisher and McShan, JJ., concur.
ORDERED that Juan Pablo Gardea's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Juan Pablo Gardea's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Juan Pablo Gardea is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Gardea is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Juan Pablo Gardea shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








